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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 THE STATE OF TEXAS, et al.,                      §
                                                  §
        Plaintiffs,                               §
 v.                                               §        Civil Action No. 4:20-cv-00957-SDJ
                                                  §
 GOOGLE LLC,                                      §
                                                  §
        Defendant.                                §


              DEFENDANT’S NOTICE OF SUPPLEMENTAL AUTHORITY

       In connection with its pending Rule 12(b)(1) motion based on the Plaintiff States’ lack of

standing (ECF No. 200), Google respectfully provides notice to the Court of a relevant new

decision of the U.S. Supreme Court. On June 13, 2024, the Supreme Court decided Food & Drug

Administration v. Alliance for Hippocratic Medicine, 602 U.S. 367 (2024) (Ex. A), a case it

dismissed for lack of standing. In doing so, the Court described which injuries are sufficient—and

insufficient—to establish Article III standing.

       The Court first affirmed that the “injury in fact” element of standing is “an essential and

unchanging part of the case-or-controversy requirement of Article III.” Id. at 380 (quoting Lujan

v. Defenders of Wildlife, 504 U.S. 555, 560–561 (1992)). This requirement, which “screens out

plaintiffs who might have only a general legal, moral, ideological, or policy objection to a

particular [defendant’s] action,” applies universally in all cases, including to actions brought by

government entities. Id. at 381.

       The Court then rejected claims that downstream economic injuries, conscience injuries,

and a purported impairment to an association’s ability to achieve its mission were sufficient to

confer Article III standing. Instead, the Court found each theory “too speculative or otherwise too


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attenuated to establish standing.” Id. at 390. The plaintiffs’ alleged injuries amounted to nothing

more than “speculation” or expressions of “fear.” Id. at 388-89. Despite the requirements of

concrete, particularized, and actual injury, no plaintiff alleged “anything like the following: ‘Here

is the treatment I provided, here is how it violated my conscience, and here is why the conscience

protections were unavailable to me.’” Id. at 388. Because a plaintiff’s “sincere legal” objections

to alleged conduct “do not establish a justiciable case or controversy in federal court,” the Court

held that “federal courts are the wrong forum for addressing the plaintiffs’ concerns.” Id. at 396.

       This decision confirms that allegations of potential or generalized injury like those made

here by the States do not establish Article III standing. Id. at 378, 381, 386, 391; see also ECF

No. 200 at 6-13. The States allege only that some publishers, advertisers, competitors, and

consumers, somewhere in the world, could be affected by Google’s alleged conduct. See, e.g.,

Fourth Amended Complaint (“FAC”) ❡❡ 502-525 (addressing alleged “anticompetitive

effects”). To establish standing, however, each Plaintiff State must allege with specificity that

here is the business I engage in; here is how the defendant's conduct affected me; and here is the

injury I suffered as a result. See Alliance for Hippocratic Medicine, 602 U.S. at 388. Alternatively,

to establish parens patriae standing, each Plaintiff State must allege that here is my quasi-

sovereign interest; here is how defendant’s conduct affected a substantial segment of my

population; and here is the injury to my interest that resulted. See ECF No. 200 at 4. The States

make no such allegations. Indeed, not a single alleged harm is specific to any Plaintiff State. See,

e.g., FAC ❡ 29 (alleging generic, unspecified harm to “Plaintiff States’ economies, as well as the

general welfare in the Plaintiff States” in the aggregate); id. ❡ 305 (alleging a Google program

decreased “any given publisher’s revenue,” without identifying any particular publisher in any

Plaintiff State); id. ❡ 305 (alleging the same program “hurt advertisers, too,” without identifying

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any particular advertiser in any Plaintiff State); id. ❡ 294 (alleging that competitors based in New

York and California exited the market); id. ❡ 296 (alleging “higher-priced and lower-quality goods

and services for consumers,” without identifying which goods, which services, or which

consumers). And the parties able to establish standing by making allegations of concrete injury

(those who bought or sold ads on Google’s AdX Platform or used its Google Ads services) have

already raised those allegations elsewhere. They are pursuing their own claims, for themselves, in

other courts. This action must therefore be dismissed.




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Dated: August 26, 2024             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on August 26, 2024, this document was filed electronically in compliance
with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per
Local Rule CV-5(a)(3)(A).

                                                          /s/ Kathy D. Patrick
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